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                    UNITED STATES DISTRICT COURT
                FOR THE SOUTHERN DISTRICT OF INDIANA
                        INDIANAPOLIS DIVISION

  LYNN STARKEY,               )
                              )
       Plaintiff,             )
                              )
       v.                     )            Case No. 1:19-cv-03153-RLY-TAB
                              )
  ROMAN CATHOLIC ARCHDIOCESE )
  OF INDIANAPOLIS, INC. and   )
  RONCALLI HIGH SCHOOL, INC., )
                              )
       Defendants.            )

   DEFENDANTS’ BRIEF IN SUPPORT OF MOTION FOR CERTIFICATION
       FOR INTERLOCUTORY APPEAL UNDER 28 U.S.C. § 1292(b)
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     Defendants the Roman Catholic Archdiocese of Indianapolis and Roncalli High

  School, Inc. (collectively, “the Archdiocese”) move to certify the Court’s Order on De-

  fendants’ Motion for Judgment on the Pleadings (Dkt. 93) (“Ord.”) for interlocutory

  appeal under 28 U.S.C. § 1292(b).

                                    INTRODUCTION

     As this Court acknowledged, this “case places in stark relief the difficult questions

  that may arise when applying civil rights laws to religious institutions.” Ord. 1. An-

  ticipating this very case, the Supreme Court in Bostock v. Clayton County emphasized

  that it is “deeply concerned with preserving the promise of the free exercise of religion

  enshrined in our Constitution” that “lies at the heart of our pluralistic society.” 140

  S. Ct. 1731, 1754 (2020). The Bostock Court explained that multiple statutory and

  constitutional “doctrines protecting religious liberty” would apply where sexual-ori-

  entation protections conflicted with “religious convictions”—including Title VII’s “ex-

  press statutory exception”—and that such “free exercise arguments [would] merit

  careful consideration.” Id. at 1753-54.

     In its Motion for Judgment on the Pleadings, the Archdiocese contended these

  religious-liberty doctrines protect religious schools when they make employment de-

  cisions based on religious conduct, even when an employee’s ministerial status is de-

  bated. In a matter of first impression, this Court found that they do not. Other federal

  courts have come to opposite conclusions. Given the national importance of this con-

  trolling question, the Seventh Circuit should be permitted to resolve the tension ex-

  peditiously, rather than having the question linger—resulting in costly, complex, and

  potentially unnecessary proceedings in this case, and disruptive uncertainty for thou-

  sands of religious organizations and their employees throughout this Circuit. See In

  re Text Messaging Antitrust Litig., 630 F.3d 622, 626-27 (7th Cir. 2010) (certification

  particularly appropriate where a “recent decision” of the U.S. Supreme Court has “its

  scope unsettled” as to the “novel[]” questions of law).


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     Accordingly, the Archdiocese seeks to certify for interlocutory appeal the following

  questions of law addressed in the Court’s order on the motion for judgment on the

  pleadings:
     (1) Whether Title VII’s religious exemption bars only “claims of religious discrim-
         ination,” Ord. 7, or whether it also bars other claims of discrimination when
         the employment decision was based on the employee’s “religious observance,”
         “practice,” or “belief.” 42 U.S.C. § 2000e(j).
     (2) Whether the church autonomy doctrine bars an employment-discrimination
         suit only when “the employee qualifies as a minister,” Ord. 18, or whether it
         also bars suits “[w]hen a church makes a personnel decision based on religious
         doctrine.” Bryce v. Episcopal Church in the Diocese of Colo., 289 F.3d 648, 660
         (10th Cir. 2002).
     (3) Whether the First Amendment right of expressive association extends to “the
         employment context.” Ord. 22.
  Each question satisfies the five requirements for interlocutory appeal pursuant to

  Section 1292(b) and Seventh Circuit precedent: each (1) involves a “question of law,”

  not fact; (2) is controlling for all remaining federal claims; (3) is contestable, where

  multiple courts have taken conflicting positions, so no out-of-circuit consensus has

  developed on these issues of first impression; (4) could potentially expedite the litiga-

  tion if finally resolved now; and (5) is timely raised. Boim v. Quranic Literacy Inst.,

  291 F.3d 1000, 1007 (7th Cir. 2002).

     In fact, federal district courts have regularly certified Section 1292(b) appeals on

  similar questions—including both the scope of Title VII’s religious exemption and the

  scope of protection under First Amendment doctrines protecting religious autonomy.

  See, e.g., Kennedy v. St. Joseph’s Ministries, Inc., 657 F.3d 189, 195 (4th Cir. 2011)

  (accepting certification of question as to scope of Title VII religious exemption); Dem-

  kovich v. St. Andrew the Apostle Parish, No. 16-cv-11576, 2019 WL 8356760 (N.D. Ill.

  May 5, 2019) (certifying question of scope of ministerial exception and staying discov-

  ery). Moreover, where necessary to protect against irreparable harm to First




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  Amendment rights, multiple courts, including the Seventh Circuit, have allowed in-

  terlocutory appeal of a church autonomy defense under the collateral order doctrine,

  without requiring certification under Section 1292(b). See, e.g., McCarthy v. Fuller,

  714 F.3d 971, 974 (7th Cir. 2013); Whole Woman’s Health v. Smith, 896 F.3d 362, 368

  (5th Cir. 2018), cert. denied, 139 S. Ct. 1170 (2019) (accepting collateral appeal of

  order compelling discovery over church autonomy objections); Heard v. Johnson, 810

  A.2d 871, 876-77 (D.C. 2002) (First Amendment immunity defense “clearly satisfies

  the requirements” for “collateral order” appeal). And the Seventh Circuit has sug-

  gested that the precise Title VII question presented here is appropriate for certifica-

  tion. Herx v. Diocese of Fort Wayne-S. Bend, Inc., 772 F.3d 1085, 1088 (7th Cir. 2014)

  (noting that the defendant could have “ask[ed] the court to certify [its] order for im-

  mediate appeal under 28 U.S.C. § 1292(b),” and citing with approval another court’s

  “§ 1292(b) certification in a similar case raising a legal question about the scope of

  Title VII’s religious-employer exemptions”). Accordingly, certification should be

  granted.

                               PROCEDURAL HISTORY

     Defendants are the Roman Catholic Archdiocese of Indianapolis and Roncalli High

  School, which is a ministry of the Archdiocese. Plaintiff Lynn Starkey worked at Ron-

  calli as the Co-Director of Guidance and a member of the school’s Administrative

  Council. Dkt. 1 (Compl.) ¶¶ 13, 39. In 2018, Starkey informed the school that she had

  entered a same-sex “civil union” in violation of her contract and of Catholic teaching.

  Compl. ¶ 39. The school then declined to renew her contract for the following aca-

  demic year, citing that union. Compl. ¶ 44. On July 29, 2019, Starkey sued the Arch-

  diocese and Roncalli alleging that the nonrenewal of her contract constituted sexual-

  orientation discrimination and retaliation in violation of Title VII, Title IX, and state

  tort law. Compl. ¶¶ 48-92. The Archdiocese’s answer raised affirmative defenses that

  included: (1) Title VII and Title IX’s religious exemptions; (2) the First Amendment’s


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  religious autonomy doctrine; (3) the First Amendment’s protection of expressive as-

  sociation; and (4) the ministerial exception. Dkt. 20 at 24-25.

     On October 16, 2019, Starkey served wide-ranging discovery requests seeking, for

  example, all documents relating to any Archdiocesan employee alleged to have vio-

  lated any “morals clause” on any ground whatsoever. See First Requests for Produc-

  tion at Requests No. 6–9 and 13 (Dkt. 27-7); First Set of Interrogatories at Interrog-

  atory No. 15 (Dkt. 27-8). On November 7, the Archdiocese filed a motion requesting

  that initial discovery be limited to the applicability of the ministerial exception, and

  disclosed over 500 pages of documents and evidence relevant to that matter to

  Starkey. (Dkts. 25, 27). On December 20, calling it a “close question,” the magistrate

  denied the Archdiocese’s request to bifurcate discovery, but subsequently stayed its

  order pending this court’s review. (Dkts. 40, 52).

     On March 24, 2020, the Archdiocese filed a motion for judgment on the pleadings,

  invoking among other defenses Title VII’s religious exemption and the First Amend-

  ment’s religious autonomy doctrine and protection of expressive association. (Dkts.

  58-59). The Archdiocese also sought leave to file a threshold motion for summary

  judgment on the ministerial exception, but the magistrate judge in a marginal entry

  denied leave. Dkts. 60, 66. On October 21, 2020, the Court granted in part and denied

  in part the motion for judgment on the pleadings, granting judgment for the Archdi-

  ocese on the Title IX claim as preempted but allowing the Title VII and state law

  claims to proceed. Ord. 1-2.

     Acknowledging the “difficult questions” the case presented, the Court first ad-

  dressed the Title VII exemption and whether it applied “when the religious reason

  [for an employment decision] also implicates another protected class[.]” Ord. 1, 11.

  The Court acknowledged the Archdiocese’s argument that the definition of religion

  under Title VII would protect decisions based on an “employee’s religious belief or




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  practice,” but concluded that religious employers could not “favor coreligionists … in

  a way that also discriminates against another protected class.” Ord. 14-15.

     Turning to the church autonomy defense, the Court considered whether the First

  Amendment would bar a discrimination claim “arising from [the Archdiocese’s] ap-

  plication of religious doctrine regardless of whether [Starkey] qualifies as a minister.”

  Ord. 18. The Court found this reading of church autonomy precedent “would render

  the ministerial exception superfluous.” Id. And on freedom of association, the Court

  “d[id] not read Dale” to provide a defense in “the employment context.” Ord. 22.

                            QUESTIONS TO BE CERTIFIED
     (1) Whether Title VII’s religious exemption bars only “claims of religious discrim-
         ination,” Ord. 7, or whether it also bars other claims of discrimination when
         the employment decision was based on the employee’s “religious observance,”
         “practice,” or “belief.” 42 U.S.C. § 2000e(j).
     (2) Whether the church autonomy doctrine bars an employment-discrimination
         suit only when “the employee qualifies as a minister,” Ord. 18, or whether it
         also bars suits “[w]hen a church makes a personnel decision based on religious
         doctrine.” Bryce, 289 F.3d at 660.
     (3) Whether the First Amendment right of expressive association extends to “the
         employment context.” Ord. 22.
                                    LEGAL STANDARD

     Section 1292(b) provides for interlocutory appeal if the underlying order “involves

  a controlling question of law as to which there is substantial ground for difference of

  opinion” and “immediate appeal from the order may materially advance the ultimate

  termination of the litigation.” 28 U.S.C. § 1292(b). The Seventh Circuit applies this

  standard by considering five factors:
        Interlocutory appeal is appropriate when (1) the appeal presents a ques-
        tion of law; (2) it is controlling; (3) it is contestable; (4) its resolution will
        expedite the resolution of the litigation, and (5) the petition to appeal is
        filed in the district court within a reasonable amount of time after entry
        of the order sought to be appealed.
  Boim, 291 F.3d at 1007 (accepting certified questions).


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    Section 1292(b) appeals serve “important” purposes and have multiple “benefits.”

  Johnson v. Jones, 515 U.S. 304, 309-10 (1995). They can “simplify, or more appropri-

  ately direct, the future course of litigation[,] … thereby reduc[ing] the burdens of fu-

  ture proceedings, [and] perhaps freeing a party from those burdens entirely.” Id. For

  that reason, “[i]nterlocutory appeal is favored where reversal would substantially al-

  ter the course of the district court proceedings or relieve the parties of significant

  burdens.” Ormond v. Anthem, Inc., No. 1:05-cv-1908-TWP-TAB, 2011 WL 3881042,

  at *6 (S.D. Ind. Sept. 2, 2011) (noting the value of “inject[ing] immediate certainty”

  as to multiple persons’ rights); see In re Text Messaging Antitrust Litig., 630 F.3d at

  626 (“immediate appeal” can avoid unnecessarily “immers[ing] the parties in the dis-

  covery swamp”).

    The Seventh Circuit has also noted that interlocutory appeal can be particularly

  appropriate in the church autonomy context, where the defendant interposes a “de-

  fense of immunity” that arguably grants “immunity from the travails of a trial and

  not just from an adverse judgment.” McCarthy, 714 F.3d at 975 (noting that church

  autonomy is “closely akin” to “official immunity”). In such circumstances, a denial of

  “interlocutory appeal” would “harm the appellant irreparably.” Id. at 974-75; accord

  Heard, 810 A.2d at 877 (ministerial exception, deriving from broader church auton-

  omy doctrine, is a “claim of immunity from suit under the First Amendment” that is

  “effectively lost if a case is erroneously permitted to go to trial”).

    When the requirements of Section 1292(b) are satisfied, it is “the duty of the dis-

  trict court … to allow an immediate appeal,” and to allow the Court of Appeals the

  option to conclusively resolve the law. Ahrenholz v. Bd. of Trs. of Univ. of Ill., 219

  F.3d 674, 677 (7th Cir. 2000).




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                                        ARGUMENT
  I.   The Court should certify the Title VII and First Amendment questions
       for interlocutory appeal.
       Here, each question to be certified satisfies all five criteria for interlocutory ap-

  peal. Each is a controlling, contestable question of law. Boim, 291 F.3d at 1007. And

  resolving any of them now would expedite the resolution of litigation.
       A. The Title VII question is a controlling, contestable question of law.
       The scope of Title VII’s religious exemption—in particular, whether the exemption

  applies only against “claims of religious discrimination,” Ord. 7, or by contrast applies

  whenever the challenged decision was based on the employee’s “religious observance,”

  “practice,” or “belief,” 42 U.S.C. § 2000e(j)—is a controlling and contestable question

  of law, as demonstrated by multiple authorities and the Court’s own decision.
          1. The scope of Title VII’s religious exemption is a controlling
             question of law.
       “[A] question of the meaning of a statutory or constitutional provision” qualifies

  as a “question of law.” In re Text Messaging Antitrust Litig., 630 F.3d at 626 (quoting

  Ahrenholz, 219 F.3d at 676). And “[a] question of law may be deemed ‘controlling’ if

  its resolution is quite likely to affect the further course of the litigation, even if not

  certain to do so.” Sokaogon Gaming Enter. Corp. v. Tushie-Montgomery Assocs., Inc.,

  86 F.3d 656, 659 (7th Cir. 1996) (granting interlocutory appeal); see Stout v. Ill. Farm-

  ers Ins. Co., 882 F. Supp. 776, 778 (S.D. Ind. 1994) (legal question that “impact[s]

  whether or not the plaintiff has a cause of action under a particular statute” would

  qualify). As this Court has put it, where a question poses an “abstract legal issue” not

  requiring review of “a record of facts” and “the entire action would be dismissed if this

  court’s opinion is reversed,” it is a “controlling question of law.” Patrick v. Pyod, LLC,

  No. 1:14-cv-00539-RLY-TAB, 2014 WL 5343284, at *1 (S.D. Ind. Oct. 20, 2014).

       Under these standards, there is no doubt that the scope of Title VII’s religious

  exemption is a controlling question of law. First, whether the exemption “should be


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   narrowly construed” or should be understood to protect “a religious reason for an em-

   ployment decision … when the religious reason also implicates another protected

   class,” Ord. 11, is simply “a question of the meaning of a statutory ... provision,” and

   therefore a “question of law.” In re Text Messaging Antitrust Litig., 630 F.3d at 626.

   That is why the Fourth Circuit has already granted certification on the scope of Title

   VII’s religious exemption. Kennedy, 657 F.3d at 195. And that is why the Seventh

   Circuit itself has cited the Fourth Circuit’s interlocutory review of this question with

   approval, noting that a religious employer defending against a Title VII claim can

   “ask the court to certify” the very same question the Archdiocese seeks to certify here.

   Herx, 772 F.3d at 1088 (citing Kennedy). In short, this question is one that “the court

   of appeals could decide quickly and cleanly without having to study the record,” just

   as this Court did not need to look beyond the pleadings to address the issue. Ahren-

   holz, 219 F.3d at 677.

      Second, this question is also controlling. Indeed, it is “quite likely to affect the

   further course of the litigation,” Sokaogon, 86 F.3d at 659, because “the entire action

   would be dismissed if this court’s opinion is reversed.” Pyod, 2014 WL 5343284, at *1

   (finding this fact alone met the standard). That is, if applicable, the religious exemp-

   tion would bar all of Plaintiff’s Title VII claims, Dkt. 59 at 9-10 (citing Garcia v. Sal-

   vation Army, 918 F.3d 997, 1006 (9th Cir. 2019) and collecting cases), and the normal

   course would then be for the Court to decline to exercise supplemental jurisdiction

   over the remaining state-law claims. RWJ Mgmt. Co. v. BP Prod. N. Am., Inc., 672

   F.3d 476, 479 (7th Cir. 2012). Accordingly, this is a controlling question of law.
         2. The scope of Title VII’s religious exemption is contestable.
      The scope of Title VII’s religious exemption is also “contestable.” Boim, 291 F.3d

   at 1007. That is, there is “room for reasonable minds to differ.” Elliott v. Bd. of Sch.

   Trustees of Madison Consol. Sch., No. 1:13-cv-219-WTL-DML, 2015 WL 2341226, at

   *1 (S.D. Ind. May 13, 2015). To determine whether a question is contestable, courts


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   “examin[e] ‘the strength of’” contrary arguments, including “whether other courts

   have adopted conflicting positions.” Pyod, 2014 WL 5343284, at *1 (quoting In re

   Bridgestone/Firestone, Inc. Tires Prods. Liab. Litig., 212 F. Supp. 2d 903, 909 (S.D.

   Ind. 2002)). In Pyod, for example, disagreement among “other district courts” satis-

   fied this element, even where the only published Court of Appeals decision supported

   the certified order. Id.

      But there is no “formalistic requirement” of “adverse authority.” Reese v. BP Expl.,

   Inc., 643 F.3d 681, 688 n.5 (9th Cir. 2011) (emphasis added). Rather, “when novel

   legal issues are presented, on which fair-minded jurists might reach contradictory

   conclusions, a novel issue may be certified for interlocutory appeal without first

   awaiting development of contradictory precedent.” In re Trump, 874 F.3d 948, 952

   (6th Cir. 2017) (quoting Reese, 643 F.3d at 688).

      Moreover, “[t]he level of uncertainty required to find a substantial ground for dif-

   ference of opinion should be adjusted to meet the importance of the question in the

   context of the specific case.” Wright & Miller, Fed. Practice and Proc. § 3930 (3d ed.).

   That is, if an “initial question” is sufficiently important, “certification may be justified

   at a relatively low threshold of doubt.” Id.

      The interlocutory appeal in Kennedy—which also addressed the scope of Title VII’s

   religious exemption—is instructive. There, though the district court found no case

   directly disagreeing with its ruling, it nonetheless certified the case for immediate

   appeal, finding it “significant” that the scope of Title VII’s religious-employer exemp-

   tion concerned the “fundamental right[]” of “religious organizations … to be free from

   government intervention” and “entanglement,” and that “denying the request for an

   interlocutory appeal and requiring the case to proceed to a final conclusion in this

   Court permits government intervention into a religious organization.” Kennedy v.

   Villa St. Catherine, Inc., No. PWG-09-3021 (WDQ), 2010 WL 9009364, at *3 (D. Md.




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   June 16, 2010); see Kennedy, 657 F.3d at 191 (Fourth Circuit subsequently granted

   permission to appeal).

      Under these standards, the Title VII question here is contestable. This Court has

   already acknowledged that this case raises “difficult questions” in “applying civil

   rights laws,” and that the Court is “not aware of any cases dealing with the questions

   presented here.” Ord. 1, 12. The Fourth Circuit in Kennedy heard a certified interloc-

   utory appeal on the scope of Title VII’s religious exemption. Most importantly, the

   Seventh Circuit cited the interlocutory appeal in Kennedy with approval, suggesting

   that the same Title VII question presented here is appropriate for certification. Herx,

   772 F.3d at 1088. And if the importance of the issue may be considered, as it was in

   Kennedy, the U.S. Supreme Court has doubly underscored the importance of this

   question. First, in Amos, the Court emphasized that Title VII’s religious-employer

   exemption serves both Religion Clauses by “alleviating significant governmental in-

   terference with the ability of religious organizations to define and carry out their re-

   ligious missions.” Corp. of Presiding Bishop v. Amos, 483 U.S. 327, 339 (1987). Sec-

   ond, in Bostock, the Supreme Court emphasized the need for “careful consideration”

   of the “doctrines protecting religious liberty”—including the Title VII religious-em-

   ployer exemption. Bostock, 140 S. Ct. at 1753-54.

      Beyond that, many courts have adopted “conflicting positions regarding the issue.”

   Pyod, 2014 WL 5343284, at *1. Justices Alito and Thomas recognized as much in

   Bostock, explaining that whether Title VII’s religious-employer exemption covers all

   religious-conduct decisions in religious schools is “disputed” among the “lower courts.”

   140 S. Ct. at 1781 (Alito, J., dissenting). And scholars, too, agree that the “cases are

   mixed” on this important question, supporting definitive resolution by the Seventh

   Circuit here. Carl H. Esbeck, Federal Contractors, Title VII, and LGBT Employment

   Discrimination: Can Religious Organizations Continue to Staff on a Religious Basis?,

   4 Oxford J.L. & Relig. 368, 372 (2015); Stephanie N. Phillips, A Text-Based


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   Interpretation of Title VII’s Religious-Employer Exemption, 20 Tex. Rev. L. & Pol. 295,

   301 (2016) (“Courts have not consistently applied Title VII’s religious-employer ex-

   emption, and the Supreme Court has not yet clarified the proper interpretation.”).

      First, contrary to this Court, at least four courts have concluded that Title VII’s

   religious exemption bars not just “claims of religious discrimination” but also “other

   forms of Title VII discrimination” (Ord. 7):
         In Curay-Cramer v. Ursuline Academy, a teacher at a Catholic school alleged
          that her termination for pro-choice advocacy constituted sex discrimination.
          450 F.3d 130, 137-38 (3d Cir. 2006). Citing Title VII’s religious exemption, the
          Third Circuit rejected the claim. It held that the exemption was designed to
          protect “a religious institution’s ability to ‘create and maintain communities
          composed solely of individuals faithful to their doctrinal practices,’” and that
          because this ability would “be jeopardized by [the] plaintiff’s claim of gender
          discrimination,” the claim was barred. Id. at 141.
         The district court in Curay-Cramer likewise applied Title VII’s religious ex-
          emption to bar multiple claims of gender discrimination. 344 F. Supp. 2d 923,
          935 (D. Del. 2004). The court held that it was immaterial that the plaintiff’s
          claims were “characterize[d] as gender discrimination”—including that the
          plaintiff claimed opposition to pro-choice advocacy is per se gender discrimina-
          tion—because any termination over a “doctrinal dispute” falls with Title VII’s
          religious exemption. Id. at 935.
         In Maguire v. Marquette University, the plaintiff claimed sex discrimination,
          alleging she was denied a position as a professor at a Catholic university “be-
          cause she is a woman and because of … [her] views respecting … abortion.”
          627 F. Supp. 1499, 1500 (E.D. Wis. 1986), aff’d in part and vacated in part, 814
          F.2d 1213 (7th Cir. 1987). The court held that her claim was barred by “the
          exception to Title VII created by 42 U.S.C. § 2000e–2(e)(2),” because, “[d]espite
          her protests that she is a Catholic, ‘of a particular religion,’” “plaintiff’s own
          complaint reveals that the [university’s] agents do not believe that her theo-
          logical beliefs make her an appropriate person to teach.” Id. at 1506-07.
         In EEOC v. Mississippi College, the EEOC asserted that a religious college
          violated Title VII by denying a woman a job as a psychology professor because
          of her sex. 626 F.2d 477, 479 (5th Cir. 1980). The college maintained that it
          had instead “applied its policy of preferring Baptists over non-Baptists.” Id. at
          486. Although the EEOC asserted the position adopted by the Court in this
          case—namely, “that [§] 702 only exempts from the coverage of Title VII


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          discrimination based upon religion, not discrimination predicated upon race,
          color, sex, or national origin”—the Fifth Circuit rejected that position. Id. at
          484. Instead, it held that if “the College applied its policy of preferring Baptists
          over non-Baptists … then [§] 702 exempts that decision from the application of
          Title VII and would preclude any investigation by the EEOC” of sex discrimi-
          nation. Id. at 486.
   These four decisions offer “conflicting positions regarding the issue of law” decided by

   this Court. Pyod, 2014 WL 5343284, at *1.

       This Court did not address the Title VII ruling in Mississippi College. Cf. Dkt. 59

   at 10; Dkt. 69 at 3. Nor did the Court address Maguire’s Title VII analysis; instead it

   said Maguire’s First Amendment entanglement analysis is limited to positions with

   concededly religious character. Ord. 20-21. As for Curay-Cramer, the Court said it

   “sheds little light on the issue” because the Third Circuit found that the plaintiff “did

   not engage in activity protected by Title VII” when she signed a pro-choice advertise-

   ment. Ord. 14-15. But that is only what the Third Circuit said about the first two

   counts of the complaint. 450 F.3d at 134. The third count alleged that the plaintiff

   was treated worse than male employees who also violated church teaching—parallel-

   ing what Starkey claims here—and the Third Circuit block-quoted and expressly re-

   lied on Title VII’s religious exemption in barring that claim. In short, Curay-Cramer,

   Maguire, and Mississippi College all involved “a plaintiff’s Title VII claim that impli-

   cate[d] both religious practice and another protected trait.” Ord. 7. And all four cases

   invoked the religious exemption to bar the claims. Thus, at a minimum, they show

   that the scope of the religious exemption is contestable.1

   1 Nor is it any answer to suggest that this case as unique on the ground that “the
   religious grounds for the decision and Starkey’s sexual orientation are two sides of
   the same coin.” Ord. 10. As this Court has recognized, Starkey doesn’t dispute the
   Archdiocese’s religious reason for nonrenewal; instead, she argues that regardless of
   the religious reason, her sexual orientation was also “a but-for cause” of nonrenewal.
   Ord. 11. But that is the same argument made by the plaintiffs in Curay-Cramer,
   Maguire, and Mississippi College. They didn’t dispute that they held different reli-
   gious views on abortion (Curay-Cramer & Maguire) and Baptist doctrine (Mississippi



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      Second, while it did not prejudge any specific case, Bostock is in tension with this

   Court’s ruling that the religious exemption is inapplicable to religious conduct rules

   that implicate same-sex relationships. As discussed in our supplemental brief, Dkt.

   78 at 5-6, the Bostock majority identified Title VII’s “express statutory exception for

   religious organizations” as relevant for “careful consideration” in future cases involv-

   ing sexual orientation discrimination. Bostock, 140 S. Ct. at 1754. But it would make

   no sense to mention Title VII’s religious exemption in Bostock if the exemption yielded

   every time the religious conduct at issue was a same-sex relationship. Bostock’s ref-

   erence to the religious exemption makes sense only if—as Justices Sotomayor and

   Ginsburg noted last Term—Title VII “protect[s] religious autonomy” by “protect[ing]

   a religious entity’s ability to make employment decisions—hiring or firing—for reli-

   gious reasons” even where they implicate other protected categories. Our Lady of

   Guadalupe Sch. v. Morrissey-Berru, 140 S. Ct. 2049, 2072 (2020) (Sotomayor, J., dis-

   senting).

      Third, as this Court acknowledged, the Archdiocese cited multiple circuit author-

   ities holding that religious employers may “terminate an employee whose conduct …

   [is] inconsistent with” the employer’s beliefs. Hall v. Baptist Mem’l Health Care Corp.,

   215 F.3d 618, 624 (6th Cir. 2000) (collecting cases); see Little v. Wuerl, 929 F.2d 944,

   951 (3d Cir. 1991) (permissible for parish to “not to rehire [plaintiff] because of her

   remarriage”). This Court stated that Little “did not require the court to consider

   whether the same result would occur if the inconsistency between religious principles

   and conduct involved a protected class, such as sexual orientation.” Ord. 14. But nei-

   ther Little nor any other case stating the relevant rule (such as Hall and Killinger v.


   College); instead, they argued that, regardless of their religious views, sex was the
   but-for cause of the employment decision. Yet the courts in those cases still invoked
   the religious exemption and barred the claims. If anything, the fact that Starkey con-
   cedes that she violated core Church teachings as set forth in her contract makes this
   an even stronger case for applying Title VII’s religious exemption.


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   Samford Univ., 113 F.3d 196, 200 (11th Cir. 1997)) included any caveat for conduct

   rules that involve a protected class other than religion. Instead, they pronounced a

   clear, general rule that would protect the Archdiocese. So even assuming it was ap-

   propriate for this Court to distinguish those authorities on the facts, they nonetheless

   constitute conflicting authority for the purposes of a Section 1292(b) motion.

      Taken together, the above authorities show this issue is contestable, particularly

   where this Court noted it was not “aware of any cases” contradicting the Archdiocese’s

   view on “the questions presented here.” See Ord. 12-15. Indeed, given how infre-

   quently a religious-conduct policy implicated another protected class prior to Bostock,

   the weight of authority in favor of the Archdiocese’s position is striking. Ord. 15.
      B. The church autonomy question is a controlling, contestable
         question of law.
      The second question to be certified—whether church autonomy prohibits the ap-

   plication of Title VII only when the plaintiff “qualifies as a minister,” Ord. 18, or

   whether it also bars suits “[w]hen a church makes a personnel decision based on re-

   ligious doctrine”—is also a controlling, contestable question of law. Bryce, 289 F.3d at

   660. The Tenth Circuit and several district courts have resolved that question differ-

   ently than this Court did, which further counsels in favor of certification.
         1. Whether the Archdiocese may invoke the church autonomy
            defense is a controlling question of law.
      The church autonomy defense poses “a question of the meaning of a … constitu-

   tional provision” and thus, a “question of law.” In re Text Messaging Antitrust Litig.,

   630 F.3d at 626 (7th Cir. 2010) (citation omitted). Where the church autonomy de-

   fense applies, it bars not only claims regarding hiring and firing, but also lawsuits

   complaining of ill treatment or raising business tort claims. See, e.g., Serbian E. Or-

   thodox Diocese v. Milivojevich, 426 U.S. 696, 717-18 (1976) (removal of a bishop);

   Bryce, 289 F.3d at 653 (Title VII harassment claim); Brazauskas v. Fort Wayne-S.

   Bend Diocese, Inc., 796 N.E.2d 286, 289 (Ind. 2003) (blacklisting and tortious


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   interference claims); Van Osdol v. Vogt, 908 P.2d 1122, 1132 (Colo. 1996) (en banc)

   (tortious interference claim; declining “to separate arguably impermissible discrimi-

   natory grounds for a decision from grounds stemming from the church beliefs” as

   entangling). Therefore, the question is “quite likely to affect the further course of the

   litigation,” Sokaogon, 86 F.3d at 659, because “the entire action would be dismissed

   if this court’s opinion is reversed.” Pyod, 2014 WL 5343284, at *1. The question easily

   clears the bar of “impacting whether or not the plaintiff” can retain all of her “cause[s]

   of action.” Stout v. Ill. Farmers Ins. Co., 882 F. Supp. 776, 778 (S.D. Ind. 1994).
         2. Whether the Archdiocese may invoke the church autonomy
            defense is contestable.
      The church autonomy defense is also “contestable,” Boim, 291 F.3d at 1007, par-

   ticularly since “other courts have adopted” positions that “conflict[]” with this

   Court’s, Pyod, 2014 WL 5343284, at *1.

      A leading case is the Tenth Circuit’s decision in Bryce v. Episcopal Church. There,

   a church’s youth minister sued under Title VII and other civil rights laws, asserting

   harassment when church officials expressed theological opposition to her same-sex

   relationship and determined she should be demoted. 289 F.3d at 651-53. Although

   federal courts had long recognized the ministerial exception, the Tenth Circuit ex-

   pressly declined “to determine whether Bryce, as Youth Minister, was a ‘minister’ for

   purposes of this exception.” Id. at 658 n.2. Instead, the court concluded that the plain-

   tiff’s claims were barred under “the broader church autonomy doctrine,” because they

   challenged “an internal church personnel matter” where “the alleged misconduct is

   ‘rooted in religious belief.’” Id. at 657-58 & n.2 (quoting Wisconsin v. Yoder, 406 U.S.

   205, 215 (1972)). Thus, Bryce squarely departs from this Court’s conclusion that the

   religious-autonomy defense applies only when “the employee qualifies as a minister.”

   Ord. 18.




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      The Garrick decisions from the Northern District of Illinois likewise hold that

   church-autonomy can bar sex discrimination claims by non-ministers, as long as the

   employment decision is “rooted firmly in [the employer’s] religious beliefs.” Garrick

   v. Moody Bible Inst., 412 F. Supp. 3d 859, 872 (N.D. Ill. 2019) (Garrick I). In Garrick

   I, a former communications instructor at Moody Bible Institute sued under Title VII

   and Title IX, alleging discrimination, retaliation, and hostile work environment based

   on her sex (female). Id. at 866-67. Garrick alleged that she experienced these adverse

   actions “because of her advocacy in favor of female students joining the Pastoral Min-

   istry Program,” arguing that Moody’s expression of its “complementarian doctrine” to

   limit the roles of women constituted sex discrimination. Id. at 872. The court found

   Garrick was not clearly a minister on the record presented, such that Moody could

   not avail itself of the ministerial exception. Id. at 871. But, citing Bryce, the court

   determined that the “overarching principle of religious autonomy” barred Garrick

   from asserting sex discrimination claims that directly challenged “doctrin[al]” deci-

   sions, as they “would impermissibly inject the auspices of government into religious

   doctrine and governance.” Id. at 871-72.

      Garrick later repleaded her claims, asserting instead that Moody engaged in Title

   VII sex discrimination unrelated to its religious beliefs—such as “expect[ing] female

   teachers of secular subjects to perform more demanding duties and submit to more

   onerous performance reviews than similarly situated male teachers.” Garrick v.

   Moody Bible Inst., No. 18 C 573, 2020 WL 6044292, at *6 (N.D. Ill. Oct. 13, 2020)

   (Garrick II). And while the court determined that claims not “inextricably related to

   Moody’s religious beliefs” could proceed, it reaffirmed its prior ruling that any claims

   about “policies” or practices inextricably related to Moody’s religious beliefs—such as

   “prohibiting women from … speaking at chapel”—were still barred even if they oth-

   erwise fell within Title VII’s coverage. Id. The court did not revisit its prior conclusion




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   that Garrick was not established as a minister, continuing to rely solely on the church

   autonomy doctrine.

      Aparicio v. Christian Union, Inc. addressed a similar issue of a Title VII claim of

   “gender discrimination” that was co-extensive with a religious practice. No. 18-cv-

   0592, 2019 WL 1437618, at *1 (S.D.N.Y. Mar. 29, 2019). Aparicio, the “Director of

   Public Affairs” at a non-profit organization that funds Christian leadership organiza-

   tions, “allege[d] his employment was terminated for opposing Defendants’ discrimi-

   natory policy against women” which barred them from leadership roles. Id. at *1, *8

   (explaining that such an “association discrimination and termination” is well-recog-

   nized). The court confirmed that “Plaintiff is not a ‘minister’ and, thus, CUI is not

   entitled to the ministerial exception for the purposes of this motion.” Id. at *7. But

   the court nevertheless found that under the church-autonomy doctrine, “applying Ti-

   tle VII’s discrimination and retaliation provisions to CUI's ‘complementarian’ policy

   violate[s] the Free Exercise Clause.” Id. at *10.

      Lastly, the Indiana Supreme Court’s decision in Brazauskas also is in tension with

   this Court’s conclusion that only claims by ministers are barred by the church auton-

   omy doctrine. There, the court held that church autonomy barred a tortious interfer-

   ence claim by a plaintiff applying to be director of a “sabbatical program.” Brazauskas

   v. Fort Wayne-S. Bend Diocese, Inc., 796 N.E.2d 286, 289 (Ind. 2003). The dissent, like

   the Court in this case, argued that church autonomy applies only “in cases involving

   members of the clergy” and not to claims “by non-ministerial employees.” Id. at 295-

   96 (Sullivan, J., dissenting). But the Indiana Supreme Court rejected that argument

   and applied church autonomy to bar the plaintiff’s claim without any finding that the

   plaintiff was a minister—and without even discussing the duties of plaintiff’s role.

   Id. at 293-94. Thus, even if this Court believes Brazauskas dealt with a “plaintiff[]

   who filled [a] religious role[],” Ord. 19, the Indiana Supreme Court’s decision did not




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   turn on this point, and it expressly rejected the dissenter’s argument that the church-

   autonomy doctrine was limited to claims by ministers. Ord. 19.

      In short, Bryce, Garrick, Aparicio, and Brazauskas all applied church-autonomy

   doctrine to bar employment claims when the plaintiff’s status as a minister was dis-

   puted, unresolved, or resolved in plaintiff’s favor. Thus, they show that “other courts

   have adopted conflicting positions” on the church autonomy question at issue here,

   such that the issue is contestable. In re Bridgestone/Firestone, Inc. Tires Prods. Liab.

   Litig., 212 F. Supp. 2d at 909.

       The Seventh Circuit’s decision in Demkovich—which may soon be reheard en

   banc—is not to the contrary. See Req. to File an Answer to Pet. for Reh’g En Banc,

   Demkovich v. St. Andrew the Apostle, No. 19-2142 (7th Cir. Oct. 9, 2020), ECF No. 38.

   Demkovich simply stated that “[a]s a general matter, it does not violate the First

   Amendment to apply federal employment discrimination laws to churches and other

   religious employers”—a proposition that was conceded in Demkovich and is uncon-

   tested here. 973 F.3d 718, 723 (7th Cir. 2020) (also noting the Title VII “exception”

   was “not relevant” on the facts of the case). The Archdiocese does not contend that

   the church-autonomy doctrine bars the application of employment discrimination

   laws “as a general matter.” Instead, it asserts the narrower claim that the First

   Amendment bars suit by employees of core religious ministries regarding “personnel

   decision[s] based on religious doctrine.” Bryce, 289 F.3d at 660. This narrower claim

   is fully consistent with Demkovich, as Garrick II already indicated. See 2020 WL

   6044292, at *6 (reaffirming post-Demkovich that claims inextricably linked to

   “Moody’s complementarian creed” are barred by the First Amendment). And it is sup-

   ported by the well-reasoned decisions in Bryce, Garrick, Aparicio, and Brazauskas.

   Accordingly, certification is appropriate.




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      C. The freedom of association question is a controlling, contestable
         question of law.
      Finally, whether the First Amendment right of expressive association extends to

   employment decisions made by an expressive organization—here, a Catholic school,

   which exists to pass on the Catholic faith—is a controlling and contestable question

   of law. Numerous courts have understood Boy Scouts of America v. Dale to protect

   religious schools and organizations like the Boy Scouts not only in membership deci-

   sions but also in employment.
         1. Whether the Archdiocese may invoke the freedom of association
            defense is a controlling question of law.
      Like the church autonomy defense, whether the right of expressive association

   extends to employment decisions poses “a question of the meaning of a … constitu-

   tional provision” and thus, a “question of law.” In re Text Messaging Antitrust Litig.,

   630 F.3d at 626 (citation omitted). And its significance is straightforward. The First

   Amendment’s “freedom of expressive association” protects an expressive organiza-

   tion’s choice to expel a group member who it determines “affects in a significant way

   [its] ability to advocate public or private viewpoints.” Boy Scouts of Am. v. Dale, 530

   U.S. 640, 648 (2000) (local youth-group leader in nonprofit organization); see Neely-

   Bey Tarik-El v. Conley, 912 F.3d 989, 1000 (7th Cir. 2019) (Dale not limited to “lead-

   ership role[s]”). If that extends to employment—as numerous courts have understood

   Dale—then Starkey’s claims are barred, as forcing the Archdiocese to retain an edu-

   cator who rejects its views on marriage would “significantly affect” the Archdiocese’s

   “ability to advocate” its view on marriage. Dale, 530 U.S. at 650; Compl. ¶¶ 12-47.
         2. Whether the Archdiocese may invoke the freedom of association
            defense is a contestable question.
      The question is also contestable. Although this Court held that Dale is confined to

   the narrow field of “membership in a private organization,” rather than “the employ-

   ment context,” Ord. 22-23, other courts have come to a different conclusion.



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      First, as the Archdiocese has discussed, Our Lady’s Inn v. City of St. Louis applied

   Dale to bar the application of employment laws to Catholic schools. 349 F. Supp. 3d

   805 (E.D. Mo. 2018). The schools had sued to challenge an employment law that pro-

   hibited discrimination based on “reproductive health decisions,” including abortion.

   Id. at 810. In its ruling in favor of the schools, the Court confirmed that “instruction

   of the young” is an “expressive activity” as a matter of law, particularly where the

   schools were “engaged in instilling Catholic, pro-life values in young people.” Id. at

   821. And it further confirmed that the “forced inclusion of teachers or other staff who

   do not adhere to those values” and obtain abortions would per se “significantly affect

   the Archdiocesan Elementary Schools’ ability to advocate their viewpoints, through

   its teachers and staff, to their students.” Id. at 821-22. Thus, by applying the doctrine

   of expressive association to bar employment claims, Our Lady’s Inn is an example of

   “other courts hav[ing] adopted conflicting positions” from this Court’s order. Pyod,

   2014 WL 5343284, at *1.

      Second, post-Dale litigation involving the Boy Scouts themselves confirms that

   Dale extends to employment. In Boy Scouts of America v. Wyman, the Second Circuit

   considered a case where Connecticut had chosen to exclude the Boy Scouts from a

   charitable campaign based on “the Boy Scouts of America’s policy of excluding homo-

   sexuals from membership and employment positions.” 335 F.3d 80, 83 (2d Cir. 2003)

   (emphasis added). The Second Circuit made no distinction between the two, finding

   that at a minimum “the BSA’s exclusion of gay activists from leadership positions …

   under any reading of Dale, is constitutionally protected.” Id. at 91.

      Similarly, an Illinois appellate court applied Dale in an employment lawsuit

   against a Boy Scouts council that refused to hire a gay person who was acting as an

   “employment tester[]” to reveal discriminatory policies. Chi. Area Council of Boy

   Scouts of Am. v. City of Chi. Comm’n on Hum. Rels., 748 N.E.2d 759, 769 (Ill. App.

   Ct. 2001). The Court determined that to require the hiring of a person with the


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   tester’s views would work “a severe intrusion on the Boy Scouts’ rights to freedom of

   expressive association” under Dale. Id. at 767. And in Priests for Life v. United States

   Department of Health and Human Services, a federal district court explained that

   “[t]he government violates expressive association rights … by forcing [groups] to ac-

   cept members or hire employees who would ‘significantly affect [the association’s] ex-

   pression.’” 7 F. Supp. 3d 88, 109 (D.D.C. 2013) (emphasis added) (finding the contra-

   ceptive mandate in the Affordable Care Act comported with freedom of association

   because it did not “force Plaintiffs to accept members or employees” who disagree

   with their views), subsequent affirmance vacated and remanded on other grounds,

   Zubik v. Burwell, 136 S. Ct. 1557 (2016).

      In short, multiple courts have understood Dale to extend to the employment con-

   text. And while this Court cited Hishon v. King & Spalding as “reject[ing] a freedom

   of association defense in the employment context,” Ord. 23, Hishon is no bar to ap-

   plying Dale to employment claims (as the above cases recognize). 467 U.S. 69 (1984).

   If the doctrine of expressive association had no application in the employment con-

   text, the Supreme Court could have said so in Hishon—which would have been the

   simplest way to dispose of the case. But instead, the Supreme Court analyzed the

   expressive-association defense on the merits, ultimately concluding that King & Spal-

   ding (a law firm) hadn’t met the necessary element of showing how considering a

   woman for partnership would “inhibit[]” any expressive aspect of lawyering. Id. at

   78. That analysis indicates that expressive association can operate as a defense in

   the employment context, as long as the elements are fully met.

      Lastly, while this Court found it less “important[]” to its analysis, the Court also

   stated that Dale “turned in part on the particular law at issue”—specifically, the am-

   biguity as to whether the Boy Scouts should be deemed a place of public accommoda-

   tion. Ord. 22. But the cases cited above demonstrate that courts have applied Dale to

   bar employment claims—demonstrating that this issue is contestable.


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      D. Resolution of each question would materially advance the ultimate
         termination of the litigation and is timely raised.
      Allowing interlocutory appeal of the Court’s order—and therefore any of the above

   questions—“may materially advance the ultimate termination of the litigation.” 28

   U.S.C. § 1292(b).

      As the Seventh Circuit has emphasized, the “may” standard requires only a pos-

   sibility, not a certainty: “[A]ll that section 1292(b) requires … is that an immediate

   appeal may materially advance the ultimate termination of the litigation.” Sterk v.

   Redbox Automated Retail, LLC, 672 F.3d 535, 536 (7th Cir. 2012) (emphasis in origi-

   nal). In Sterk, the Seventh Circuit found an appeal was “almost certain” to advance

   the ultimate termination where reversal would take a central claim “out of the case.”

   Id.; accord Reese, 643 F.3d at 688 (“sufficient” for the materially-advance standard

   that certified issue “may” take a set of claims “out of the case,” along with one defend-

   ant). Likewise, appeal on a “threshold question” that is also a “question of law” has

   been held to satisfy the “materially advance” standard. Johnson v. Burken, 930 F.2d

   1202, 1205 (7th Cir. 1991). Other cases confirm that a Section 1292(b) appeal mate-

   rially advances the completion of the litigation if “resolution of a controlling legal

   question would serve to avoid a trial.” McFarlin v. Conseco Servs., LLC, 381 F.3d

   1251, 1259 (11th Cir. 2004) (citing 16 Wright & Miller, Federal Practice and Proce-

   dure § 3930); see Neal v. Honeywell, Inc., 191 F.3d 827, 830 (7th Cir. 1999) (case ad-

   vances ultimate termination “if its disposition is conclusive on the contested issue”);

   Pyod, 2014 WL 5343284, at *2 (relevant that “the case would be dismissed should the

   Defendants prevail on appeal”).

      For that reason, “[a]lthough technically the question of whether there is a control-

   ling issue of law is distinct from the question of whether certification would materi-

   ally advance the ultimate termination of the litigation, in practice the two questions

   are closely connected.” S.E.C. v. Credit Bancorp, Ltd., 103 F. Supp. 2d 223, 227



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   (S.D.N.Y. 2000). Thus, the materially-advance standard is often met by a certified

   question for the same reason the question would be controlling in the case.

      Courts considering the “ultimate termination” issue sometimes also consider the

   potential cost of discovery, trial, and other litigation expenses that could arise absent

   certification. See, e.g., McFarlin, 381 F.3d at 1259 (helping to “avoid a trial” is a good

   reason for immediate appeal); Pyod, 2014 WL 5343284, at *2 (finding relevant that

   “costly discovery and other litigation expenses” were expected and “could be spared

   with an immediate appeal”); Gamboa v. City of Chi., No. 03 C 219, 2004 WL 2877339,

   at *4 (N.D. Ill. Dec. 13, 2004) (deciding dispositive issue would advance proceeding as

   “[e]ven if the appellate court agrees with our decision,” it would provide “guidance”

   that would simplify trial). Compare Common Cause Ind. v. Ind. Sec’y of State, No.

   1:12-cv-01603-RLY-DML, 2013 WL 12284649, at *1 (S.D. Ind. Nov. 7, 2013) (consti-

   tutional challenge to state statute, as pure legal issue, involved minimal discovery

   and “most likely [would] be decided on summary judgment”).

      Here, immediate resolution of the certified questions would advance the ultimate

   termination of the litigation because, if resolved in the Archdiocese’s favor, they

   would obviate the need for further proceedings in their entirety. In addition, it is

   highly likely that discovery, trial, and other litigation expenses will be significant if

   the parties are required to begin plenary discovery and proceed to trial. “A Title VII

   action is potentially a lengthy proceeding,” and in this case, “[c]hurch personnel and

   records would inevitably become subject to subpoena, discovery, cross-examination,

   the full panoply of legal process designed to probe the mind of the church.” Rayburn

   v. Gen. Conf. of Seventh-day Adventists, 772 F.2d 1164, 1171 (4th Cir. 1985) (Wil-

   kinson, J.); see E.E.O.C. v. Catholic Univ. of Am., 83 F.3d 455, 467 (D.C. Cir. 1996)

   (citing Rayburn and noting the Title VII claim entailed “extensive pre-trial inquiries,”

   along with EEOC investigation and trial, that “constituted an impermissible




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   entanglement” with religious judgments). And further litigation here is likely to be

   especially complex due to the immunity rights at issue.

      As the Archdiocese has explained in prior briefing, both the church autonomy de-

   fense and the ministerial exception, when applicable, function not just as a defense

   to liability but as an immunity from the burdens of discovery and trial. See Dkt. 42

   at 14-21 (collecting cases confirming the immunity and granting interlocutory appeal

   or bifurcation to protect it). In Our Lady, the Supreme Court reaffirmed that while

   the Religion Clauses do not provide churches a “general immunity” from all secular

   law, they do “protect [churches’] autonomy with respect to internal management de-

   cisions that are essential to the[ir] central mission,” especially in “the selection of the

   individuals who play certain key roles.” Our Lady, 140 S. Ct. at 2060 (emphasis

   added). And the Seventh Circuit has confirmed that the purpose of the ministerial

   exception is “precisely to avoid such judicial entanglement” as “subjecting religious

   doctrine to discovery and, if necessary, jury trial.” Sterlinski v. Catholic Bishop of

   Chi., 934 F.3d 568, 570 (7th Cir. 2019). For that reason, numerous authorities con-

   clude that this First Amendment “immunity from civil discovery and trial” includes

   the right to immediate appeal from an order granting plenary discovery because “once

   exposed to discovery and trial, the constitutional rights of the church to operate free

   of judicial scrutiny would be irreparably violated.” United Methodist Church v. White,

   571 A.2d 790, 792-93 (D.C. 1990); see, e.g., Kirby v. Lexington Theological Seminary,

   426 S.W.3d 597, 609 n.45 (Ky. 2014) (ministerial exception); Harris v. Matthews, 643

   S.E.2d 566, 569-70 (N.C. 2007) (church autonomy).

      Multiple federal circuit courts, including the Seventh Circuit, have recognized the

   right to immediately appeal church autonomy issues under the collateral order doc-

   trine, rather than allow unbridled discovery. In McCarthy v. Fuller, the Seventh Cir-

   cuit accepted a collateral appeal relating to a judge’s refusal to defer to the Holy See

   regarding a party’s standing in the Catholic Church. 714 F.3d at 974. The Seventh


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   Circuit explained that the Religion Clauses’ rule against judicial interference in in-

   ternal religious affairs was “closely akin” to a type of “official immunity,” since it con-

   ferred “immunity from the travails of a trial and not just from an adverse judgment.”

   McCarthy, 714 F.3d at 975-76 (noting “irreparable” harm at issue justified collateral

   appeal); see also, e.g., Whole Woman’s Health, 896 F.3d at 368 (accepting collateral

   appeal of order compelling discovery over church autonomy objections); Skrzypczak

   v. Roman Catholic Diocese of Tulsa, 611 F.3d 1238, 1242 (10th Cir. 2010) (“[T]he min-

   isterial exception, like the broader church autonomy doctrine, can be likened to …

   qualified immunity.” (internal quotation marks omitted)). For that reason, courts rec-

   ognize that allowing the Church to be “deposed, interrogated, and haled into court”

   where an immunity attaches is “impermissible entanglement” and thus “forbidden by

   the First Amendment.” Catholic Univ., 83 F.3d at 466-67 (quoting Young v. N. Ill.

   Conf., 21 F.3d 184, 187 (7th Cir. 1994)); see Young, 21 F.3d at 187 (“civil court review

   of ecclesiastical decisions of church tribunals … are in themselves an ‘extensive in-

   quiry’ into religious law and practice, and hence forbidden by the First Amendment”)

   (emphasis in original). Thus, proceeding to plenary discovery here not only would

   threaten fundamental First Amendment rights by depriving the Archdiocese of its

   immunity from suit, but also could produce an interlocutory appeal under the collat-

   eral order doctrine anyway.

      Further, the discovery sought by Starkey into internal disciplinary records regard-

   ing all manner of moral infractions goes to the very heart of “church discipline,” one

   of the areas of religious autonomy “over which the civil courts exercise no jurisdic-

   tion,” and proposes “inquiry into the procedures [of] canon or ecclesiastical law … that

   the First Amendment prohibits.” Milivojevich, 426 U.S. at 713-14. The Fifth Circuit

   has acknowledged that compelling such discovery, which could violate the “structural

   protection afforded religious organizations and practice under the Constitution,” is

   “effectively unreviewable’ on appeal from the final judgment,” and therefore justifies


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   an appeal “under the collateral order doctrine.” Whole Woman’s Health, 896 F.3d at

   367, 373. Similarly, in parallel litigation in Indiana state court—involving a challenge

   to a teacher’s dismissal for entering a same-sex marriage, and seeking similar discov-

   ery into matters of church discipline—the Indiana Supreme Court recently issued a

   rare emergency order to halt all discovery in the trial court so the Supreme Court

   could consider the church autonomy defense on a writ of mandamus. Emergency Writ,

   State of Ind. ex rel. Roman Catholic Archdiocese of Indianapolis, Inc. v. Marion Sup.

   Ct., No. 20S-OR-520 (Ind. Aug. 21, 2020), https://perma.cc/KJ77-QJGC.

      In short, moving forward with discovery and trial in this case, without definitive

   resolution of the threshold statutory and constitutional defenses, would raise a host

   of complex, costly, and significant First Amendment issues that could themselves

   prompt interlocutory appeal. By contrast, certifying these important threshold ques-

   tions now may well resolve the entire case and thus “head off protracted, costly liti-

   gation.” Ahrenholz, 219 F.3d at 677.

      Finally, this request has been filed “within a reasonable amount of time after en-

   try of the order sought to be appealed,” since the order was entered just seven days

   ago. Boim, 291 F.3d at 1007. A request “filed within two weeks of the order it seeks

   to appeal” is accepted as “timely” across Seventh Circuit district courts. Sterk v. Path,

   Inc., No. 13 CV 2330, 2014 WL 8813657, at *3 (N.D. Ill. Aug. 8, 2014); accord Val-

   bruna Slater Steel Corp. v. Joslyn Mfg. Co., No. 1:10-CV-044-JD, 2016 WL 1593232,

   at *5 (N.D. Ind. Apr. 21, 2016) (collecting cases and contrasting Sterk’s two-week de-

   lay with more dilatory “requests filed more than a month or so after the order”). Here,

   the Archdiocese is filing in half that time.

                                       CONCLUSION

      The issues presented by the Order on Judgment on the Pleadings are controlling

   and contestable questions of law where early appellate resolution will advance the




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   ultimate termination of this litigation. The Court should certify the threshold ques-

   tions and allow the Seventh Circuit to decide whether to accept the appeal.



                                          Respectfully submitted,

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                             CERTIFICATE OF SERVICE

         I do hereby certify that a copy of the foregoing has been served upon the

   following on October 28, 2020 by this Court’s electronic filing system:

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